
Upon consideration of the petition filed by Respondents (Tobaccoville &amp; Phillips) on the 5th day of February 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
Upon consideration of the petition filed by Respondents (Tobaccoville &amp; Phillips) on the 5th day of February 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*562"Denied by order of the Court in conference, this the 11th day of June 2008."
